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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,
                     Plaintiff,


                     vs.                          Case No. 13-10112-09-JTM


 LARRY REED,
                     Defendant.




                            MEMORANDUM AND ORDER



      This matter is before the court on defendant Larry Reed’s motion in which he seeks

release from the halfway house where he is currently confined. Reed pled guilty in 2015

to conspiracy to commit program fraud. The court sentenced Reed to two years

imprisonment and three years supervised release. (Dkt. 230). The defendant remained on

bond (Dkt. 232) following his plea and sentencing, until he self-surrendered. Final

judgment was entered on September 4, 2015. (Dkt. 238). Reed’s motion indicates that he

was released from prison and has been at a Topeka, Kansas, halfway house beginning

August 24, 2016.

      Reed seeks release from the halfway house citing the scheduled back surgery of his

wife, Jacqueline Hudson, and his own liver disease. In support of his motion, Reed has
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submitted an affidavit indicating that he entered into a common law marriage to Ms.

Hudson in 1996. However, as the government notes, Reed stated in 2015 that he was

married to Dorothy Junious, and was simply “close friends” with Ms. Hudson. In addition,

Reed has been arrested and convicted on domestic violence charges and violating “no

contact” orders relating to Ms. Hudson.

      The court notes that the United States Probation Office recommends against

releasing defendant to live with Ms. Hudson. Further, the scheduled surgery of Ms.

Hudson appears to a part of an ongoing treatment of her back condition. Reviewing all of

the circumstances of the case, the court finds that defendant’s motion should not be

granted.

      IT IS ACCORDINGLY ORDERED this 28th day of December, 2016, that the

defendant’s Motion to Modify (Dkt. 454) is hereby denied.




                                               ___s/ J. Thomas Marten_______
                                               J. THOMAS MARTEN, JUDGE
